           Case 2:15-cr-00125-DJC-CKD Document 69 Filed 01/27/17 Page 1 of 3


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     5701 Lonetree Blvd., Suite 312
 2
     Rocklin, CA 95765
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5
     Attorney for Defendant
     Benjamin Macias
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       )       No. 2:15-cr-00125 GEB
10
                                                     )
                                                     )       STIPULATION REGARDING
11          Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
                                                     )       SPEEDY TRIAL ACT; [PROPOSED]
12
     v.                                              )       FINDINGS AND ORDER
                                                     )
13
     BENJAMIN MACIAS,                                )
                                                     )
14
                                                     )
            Defendant.                               )
15
                                                     )
                                                     )
16
                                                     )
17

18                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
19
     defendant, by and through each counsel of record, hereby stipulate as follows:
20

21          1.      By previous order, this matter was set for status on January 27, 2017.

22          2.      By this stipulation, the defendant now moves to continue the status conference
23
     until March 3, 2017, at 9:00 a.m. a.m. and to exclude time between January 27, 2017, and March
24
     3, 2017, under Local Code T4. Plaintiff does not oppose this request.
25

26
            3.      The parties agree and stipulate, and request that the Court find the following:

27          a.      There are over 420 pages of discovery, and numerous audio and video recordings.
28
            b.      Counsel for the defendant desires additional time to consult with his client, to


                                                         1
            Case 2:15-cr-00125-DJC-CKD Document 69 Filed 01/27/17 Page 2 of 3


     review the current charges, to conduct investigation and research related to the charges, to review
 1

 2   and copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 3   pretrial motions, and to otherwise prepare for trial.
 4
            c.      Counsel for the defendant believes that failure to grant the above-requested
 5
     continuance would deny him the reasonable time necessary for effective preparation, taking into
 6

 7
     account the exercise of due diligence.

 8          d.      The government does not object to the continuance.
 9          e.      Based on the above-stated findings, the ends of justice served by continuing the
10
     case as requested outweigh the interest of the public and the defendants in a trial within the
11
     original date prescribed by the Speedy Trial Act.
12

13          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14   et seq., within which trial must commence, the time period of January 27, 2017, and March 3,
15
     2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
16
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
17
     of the Court's finding that the ends of justice served by taking such action outweigh the best
18

19   interest of the public and the defendants in a speedy trial.

20          4.      Nothing in this stipulation and order shall preclude a finding that other provisions
21
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
22
     which a trial must commence.
23

24

25   IT IS SO STIPULATED.

26

27

28




                                                       2
           Case 2:15-cr-00125-DJC-CKD Document 69 Filed 01/27/17 Page 3 of 3


                                               PHILLIP A. TALBERT
 1
     Dated: January 26, 2017                   ACTING U.S. ATTORNEY
 2
                                        By:    /s/ David D. Fischer for
 3                                             PAUL HEMESATH
                                               Assistant U.S. Attorney
 4
                                               Attorney for Plaintiff
 5

 6   Dated: January 26 2017                    /s/ David D. Fischer
 7
                                               DAVID D. FISCHER
                                               Attorney for Defendant
 8                                             BENJAMIN MACIAS
 9

10                                            ORDER
11          UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered
12   that the January 27, 2017, status conference hearing be continued to March 3, 2017, at
13   9:00 a.m. Based on the representation of defense counsel and good cause appearing
14   therefrom, the Court hereby finds that the failure to grant a continuance in this case
15   would deny defense counsel reasonable time necessary for effective preparation, taking
16   into account the exercise of due diligence. The Court finds that the ends of justice to be
17   served by granting a continuance outweigh the best interests of the public and the
18   defendant in a speedy trial. It is ordered that time beginning from January 27, 2017, up to
19   and including the March 3, 2017, status conference shall be excluded from computation
20   of time within which the trial of this matter must be commenced under the Speedy Trial
21   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
22   defense counsel reasonable time to prepare.
23   Dated: January 26, 2017
24

25

26

27

28




                                                   3
